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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:05CR24
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                   ORDER
                                            )
JHOVANNIE ANTONIO REYES,                    )
                                            )
             Defendant.                     )


      This matter is before the Court on the government’s motion for dismissal, without

prejudice, of the Indictment as it relates to Defendant Jhovannie Antonio Reyes. The

motion is made pursuant to Federal Rule of Criminal Procedure 48(a), and I find that

the motion should be granted.

      IT IS ORDERED:

      1.     The government’s motion for dismissal (Filing No. 62) is granted; and

      2.     The Indictment is dismissed as to the Defendant, Jhovannie Antonio

             Reyes, without prejudice.

      Dated this 15th day of March, 2006.

                                         BY THE COURT:

                                         s/Laurie Smith Camp
                                         United States District Judge
